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               (Rev, 12/07) Judgment in a Criminal Case for Revocations
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               Sheet I                                                  #1418

                                    UNITED STATES DISTRICT COURT                                                                                                                                                                                                         ~/1.1$'()
                                                                                               Southern District of Illinois                                                                                                                         Soc'-l:/y   NOy I 8
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         UNITED STATES OF AMERICA
                    v.
                                                                                                                                                        Judgment in a Criminal Case                           Dis?ISr/y
                                                                                                                                                        (For Revocation of Probation or Supervised Release) tv 0tv           CO
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                 EVERETT E. MARTIN                                                                                                                                                                                   f:'ICl: 1'-'-1 ;Yr
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                                                                                                                                                        Case No. 4:02CR40078-014
                                                                                                                                                        USM No. 05793-025
                                                                                                                                                             Judith Kuenneke, AFPD
                                                                                                                                                                                                                                     Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                                         as alleged below                                                                                                             of the term of supervision.
o was found in violation of condition(s)                                          _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                                                                                                                                 Violation Ended
Statutory                     The defendant committed the offense of Failure to Wear Seat
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Standard # 9                  'The defendant associated with a convicted felon                                                                                                                                                                   09/04/2010


       The defendant is sentenced as provided in pages 2 through __4-,--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2063

Defendant's Year of Birth:        1974

City and State of Defendant's Residence:
Marion, IL 62959
                                                                                                                                                              J. Ph'                                                                                        District Judge
                                                                                                                                                                                                                                    Name and Title of Judge
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DEFENDANT: EVERETT E. MARTIN
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                                                            IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :




     D The court makes the following recommendations to the Bureau of Prisons:




     D    The defendant is remanded to the custody of the United States Marshal.

     D    The defendant shall surrender to the United States Marshal for this district:
          D     at   _ _ _ _ _ _ _ _ _ D a.m.                D   p.m.       on
          D     as notified by the United States Marshal.

     D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                     to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                        By
                                                                                          DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release                             #1420
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  DEFENDANT: EVERETT E. MARTIN
  CASE NUMBER: 4:02CR40078-014
                                                        SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
60 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judW!ent imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permlssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  l3)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatlOn requirement.
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                                    SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall spend the first six months in a half-way house as directed by probation.

 2. The defendant shall have a medical evaluation to see if he is able to use the antabuse drug treatment.

 3. The defendant shall not consume any alcohol and go into any establishments that mainly serve alcohol.

 4. The defendant is to receive mental health treatment and counseling as directed by probation.

 5. The defendant shall have no contact with Brandy Dunfree, her daughter or any other family member.
